Case 9:10-cv-80737-DTKH Document 167-1 Entered on FLSD Docket 04/30/2012 Page 1 of 6



                                            EXHIBITB

                              THIRD INTERIM FEE APPLICATION
                 SECURITIES AND EXCHANGE COMMISSION vs. TRADE LLC, et al
                   DETAILED TIME RECORDS BY ACTIVITY CODE CATEGORY
                             August S, 2011 through February 2S, 2012

    STAFF    DATE      HOURS      RATE       AMOUNT                      DESCRIPTION

    KFOS    OS/OS/11      0.10    225.00           22.50 Telephone call wlMIB re: tax returns 2010 and
                                                         info needed to prepare, coordinate w/SK

    STKE    OS/OS/11       I.S0   225.00           405.00 Correspondence with Receiver concerning data
                                                          necessary to prepare tax returns: Conference
                                                          with Receivership administrator.
    KFOS    OS/09111      0040    225.00            90.00 Discuss tax data issues w/SK & MIB
    KFOS    OS/09111      1.00    225.00           225.00 Review data received from receiver
    MORB    OS/09111      3.70    250.00           925.00 Review year end financial data and tax
                                                          considerations.
    KFOS    OS/10/11      0040    225.00            90.00 Phone calls and emails with MIB re: tax returns
                                                          2010
    MORB    OSI11111      5.60    250.00         1,400.00 Review year end financial data and tax
                                                          considerations.
    KFOS    OS/12111       1.30   225.00           292.50 Continue review of documents received,
                                                          prepare list of info needed for preparation of
                                                          income tax returns 2010
    MORB    OS/12/11      4.30    250.00         1,075.00 Review year end financial data and tax
                                                          considerations.
    STKE    OS/12111       1.00   225.00           225.00 Research missing information to assist in
                                                          preparation of Federal Income Tax return and e
                                                          mail to counsel concerning same
    KFOS    OSI15/11      0.10    225.00            22.50 Discuss tax issues w/SK
    KFOS    OS/ISI11      1.30    225.00           292.50 Gather and give 2010 tax info to JM for file
                                                          setup in re: tax return preparation
    JMAS    OS123111      0.25    225.00            56.25 Tax returns
    MORB    OS/23/11      1.20    250.00          300.00 Review data received from Patrick.
    KFOS    OS/24111      0.50    225.00          112.50 Review data sent by Receiver's office
    KFOS    OS/24/11      0.20    225.00           45.00 Email to Receiver for ownership not supplied

    KFOS    OS124/11      3.70    225.00          S32.50 Adjust QuickBooks 2010 supplied by Receiver

    JMAS    OS125/11      5.50    225.00         1,237.50 Tax returns
    KFOS    OS/25/11      0040    225.00            90.00 Explain Trade LLC 2010 books to JM for tax
                                                          preparation
    JMAS    OS/31111      0.S5    225.00           191.25 Tax returns
    JMAS    09/01111      2.25     225.00         506.25 Tax returns
    KFOS    09/01111      0.20     225.00           45.00 Discuss tax return issues wlMIB
    KFOS    09/01111      0.10     225.00           22.50 Email to Rengstl for depo describing ownership

    MORB    09/01/11      3.S0     250.00         950.00 Year end and disclosure statement analysis.
    KFOS    09/02111       2.90    225.00         652.50 Review five (5) returns prepared by JM and
                                                         note changes to be made, give to LO for
                                                         changes
    KFOS    09/03/11       3.30    225.00         742.50 Revise JM prepared tax returns and letters

                                                    EXHIBIT
                                                                                                            1
                                             ~
                                             I          A
Case 9:10-cv-80737-DTKH Document 167-1 Entered on FLSD Docket 04/30/2012 Page 2 of 6



    STAFF    DATE        HOURS      RATE      AMOUNT                    DESCRIPTION
    KFOS    09/03111        2.00     225.00      450.00 ~repare Disclosure Statement
    KFOS    09/03/11        0.10     225.00       22.50 F~rward to RW for review
    KFOS    09/06/11        0.30     225.00       67.50 Discuss returns review by/with RW
    KFOS    09/06/11        1.80     225.00      405.00 Revise Disclosure Statement and tax returns
                                                        per RW review
    KFOS    09/06111         0.10    225.00       22.50 Forward to processing dept.
    MORB    09/06/11         1.80    250.00      450.00 Research Re Disclosure statement.
    JAMU    09/07/11         2.50     40.00      100.00 2010 1065 Bankruptcy Tax Returns- (5
                                                        Entities)
    KFOS     09/07/11        0.10    225.00       22.50 Discuss 2010 tax return issues wlMIB and
                                                        email Disclosure Statement to him
    RlWE    09/07/11         lAO     225.00      315.00 Review complaints and motions and compare
                                                        to disclosure on all tax returns
    KFOS     09/08/11        0040    225.00       90.00 Discuss Disclosure Statement and issues re:
                                                        2010 returns with MIB
    MORB     09/08111        3040    250.00      850.00 Worked on disclosure statement for all five
                                                        entities.
    KFOS     09/09/11        1.00    225.00      225.00 Make changes to Disclosure Statement and
                                                        return(s) Schedule B-1 and give to processing
                                                        dept. for re-processing
    KFOS     09112111        0.50    225.00      112.50 Discuss Disclosure Statement issues wlMIB
    KFOS     09/12/11        0.50    225.00        112.50 Call Mr. Rengstl and discuss his
                                                         . c~mcerns/proposed changes.
    MORB    09/13/11         4.60    250.00      1,150.00 Sign off and Last review of all files.
    KFOS    10/6/2011        0.50    225.00       112.50 Respond to Receiver re IRS notice in
                                                           connection with no FEIN for CMJ Capital
    KFOS     101712011       0.20    225.00        45.00 Email traffic re prompt determination letters
    KFOS    10110/2011       0.80    225.00       180.00 Tax research re Prompt Assessment by a
                                                           Receiver
    KFOS    10/11/2011       0.70    225.00       157.50 Discuss with MIB re tax returns and print
                                                           prompt assessment research (per 505(b)
                                                           requests denied for pass-through entities), info
                                                           to CR for research re prompt assessment and
                                                           what a Receiver can file with IRS to get
                                                           assurance that no tax/penalty liability

    RAWS    10/26/2011       1.00    225.00       225.00 research prompt determination for receivership

    KFOS    11117/2011       1.60    225.00       360.00 Read and resolve issues re IRS correspondence
                                                         Center Richmond LLC and CMJ Capital LLC

    KFOS    11/17/2011       0.30    225.00        67.50 Email to DA re 1099-R issues in connection
                                                         with distributions to IRA account holders
    KFOS    11/17/2011       0.50    225.00       112.50 Discuss 1099 issues w/CR and MIB and JS and
                                                         PR
    RAWS    11/17/2011       1.50    225.00       337.50 Research
                                                          .,       related to 1099R reporting
    DAPP    11/18/2011       0.40    250.00       100.00 Open WIP from Practice
    RAWS    11118/2011       0.50    225.00       112.50 R~search information regarding withholding
                                                         requirements
    RAWS    11118/2011       0.50    225.00       112.50 Review letter from attorney, make changes and
                                                         send email to Morris regarding same.
    DAPP    11/2112011       1.00    250.00       250.00 Review of receiver correspondence Re: IRA
                                                         and pension accounting



                                                                                                              2
Case 9:10-cv-80737-DTKH Document 167-1 Entered on FLSD Docket 04/30/2012 Page 3 of 6



    STAFF     DATE       HOURS      RATE      AMOUNT                    DESCRIPTION
     JSTR   11121/2011      1.00     225.00     225.00 Phone/meetings with David Appel and Morris
                                                       Berger re IRA distribution rules for a
                                                       receivership
     JSTR   1112112011       1.50    225.00     337.50 Update client letter to beneficiaries re IRA
                                                       distribution rules for a receivership
     JSTR   11/2112011       3.50    225.00     787.50 Research IRA distribution rules in receivership

    RWEI    1112112011      0.35     225.00        78.75 ~elephone discussions and emails with atty's
                                                         re: Tax Returns
    RWEI    11/2112011      0.35     225.00        78.75 Changes to 2010 Tax Returns - Trade LLC
    RWEI    1112112011      0.35     225.00        78.75 Changes to 2010 Tax Returns - CMJ Capital
                                                         LLC
    RWEI    11/2112011      0.35     225.00        78.75 Changes to 2010 Tax Returns - BD LLC
    RWEI    1112112011      0.35     225.00        78.75 Changes to 2010 Tax Returns - Twitt LLC
    RWEI    1112112011      0.35     225.00        78.75 Changes to 2010 Tax Returns - Center
                                                         Richmond
    DAPP    11122/2011       1.00    250.00       250.00 Partner work on retirement IRA tax issues
    JSTR    1112212011       1.40    225.00       315.00 Phone/meetings with David Appel and Morris
                                                         Berger re IRA distribution rules for a
                                                         receivership
     JSTR   11/22/2011       1.50    225.00       337.50 Update client letter to beneficiaries re IRA
                                                         distribution rules for a receivership
     JSTR   11122/2011       2.90    225.00       652.50 Research IRA distribution rules in receivership

    LSOO    11122/2011       0.20     40.00         8.00 2010 1065 Bankruptcy Rework CMJ Capital
                                                         LLC
    DAPP    11/2312011       2.50    250.00       625.00 Partner work on distribution to IRA investors
                                                         and related tax issues
     JSTR   1112312011       0.50    225.00       112.50 Phone/meetings with David Appel and Morris
                                                         Berger re IRA distribution rules for a
                                                         receiyership
     JSTR   11/23/2011       0.70    225.00       157.50 Update client letter to beneficiaries re IRA
                                                         distribution rules for a receivership
     JSTR   11123/2011       1.10    225.00       247.50 Research IRA distribution rules in receivership

     JSTR   11128/2011       0.90    225.00       202.50 Finalize research based on Wednesday's phone
                                                         call with client re IRA distribution filing
                                                         requirements and inclusion of conclusions in
                                                         letter to beneficiaries
     JSTR   11/28/2011       0.60    225.00       135.00 Finalize update to client letter to beneficiaries
                                                         re taxation of IRA distrivutions
    RAWS    11/28/2011       2.00    225.00       450.00 research related to distributions to IRAspension
                                                         funds including 60 day rule, 365 day rule,
                                                         withholding, etc.
     JSTR   11/29/2011       0.30    225.00        67.50 Prep for phone call phone call with client re
                                                         filing requirements for IRA distributions
     JSTR   11/29/2011       0.40    225.00        90.00 Phone call phone call with client re filing
                                                         requirements for IRA distributions
    KFOS    1112912011       0.30    225.00        67.50 Review email traffic re WH from distributions
                                                         (CR research) and status of revised tax return
                                                         CMJ Capital
    RAWS    1112912011       0.50    225.00       112.50 phone call with Jeffregarding distributions to
                                                         IRAspension funds



                                                                                                             3
Case 9:10-cv-80737-DTKH Document 167-1 Entered on FLSD Docket 04/30/2012 Page 4 of 6



    STAFF     DATE       HOURS      RATE      AMOUNT                  DESCRIPTION
    KFOS    11/3012011      0.30     225.00      67.50 Review CMJ tax return revision and to EW for
                                                       scanning setup
    KFOS    11/30/2011       0.20    225.00      45.00 Scan to GFR of Levine et alletter with IRS
                                                       notice
    KFOS    11130/2011       0.20    225.00      45.00 Follow up wlMIB re: penalty notice received
    KFOS    11/30/2011       1.50    225.00       337.50 Prepare IRS letter re: penalty incl. pull certified
                                                         receipts discuss wlMIB
    KFOS    12/112011        0.70    225.00       157.50 Review certified receipts and email from PR
    KFOS    12/1/2011        0.10    225.00        22.50 Discuss wlMIB
    KFOS    12/112011        0.50    225.00       112.50 Revise IRS letter and send out letter
    KFOS    12/212011        0.10    225.00        22.50 Telephone call w MIB re: penalties, unfiled tax
                                                         returns & POA needed
    DAPP    12/5/2011        1.00    250.00       250.00 Partner work on responses for receiver
    JSTR    12/5/2011        0.30    225.00        67.50 Memo to file re phone call with receiver
    DAPP    12/6/2011        0.20    250.00        50.00 Partner work on responses for receiver
    JSTR    12/6/2011        0.40    225.00        90.00 Phone call with Bruce Baker re email to Jeffrey
                                                         Schneider
    JSTR    12/6/2011        0.30    225.00        67.50 Review and respond to client emails re taxation
                                                         ofIRA distributions
     JSTR   12/6/2011        0.20    225.00        45.00 research client questions re taxation ofIRA
                                                         distributions
    DAPP    12/7/2011        0.30    250.00        75.00 Partner work on responses for receiver
    KFOS    12/812011        0.10    225.00        22.50 Review and save POA's signed by MIB
    KFOS    12/812011        0.10    225.00        22.50 Reply to PR
    KFOS    12/812011        0.10    225.00        22.50 Forward to MIB to call IRS
    DAPP     11312012        0.50    250.00       125.00 Partner work on 2011 year-end 1099's
    KFOS     113/2012        0.20    225.00        45.00 Other Services- Re-send POAs to MIB to call
                                                         IRS
    YGAL     113/2012        0.33    225.00        74.25 Met with Ana Salazar & Jeffrey Schneider to
                                                         discuss 1099-R and what is needed to proceed.

    DAPP     114/2012        0.50    250.00       125.00 Partner work on 1099's
    JSTR     114/2012        0.20    225.00        45.00 Review and edit memo to Jeffrey Schneider
    JSTR     114/2012        0.20    225.00        45.00 Meeting with David Appel
    KFOS     114/2012        0.10    225.00        22.50 Other Services- Re-send POAs to MIB to call
                                                         IRS
    YGAL     114/2012        2.00    125.00       250.00 Memo to/from Client-met with Mr. Appel and
                                                         Mr. Strohmenger and typed memo.
    YGAL     11412012        1.30    125.00       162.50 Met with Ana Salazar & Jeffrey Schneider to
                                                         discuss 1099-R and what is needed to proceed.

    DAPP    1113/2012        0.20    250.00        50.00 Partner work on 1099 issues
    JSTR    111312012        0.30    225.00        67.50 Corresponding with client
    DAPP    111612012        0.20    250.00        50.00 Partner work on 1099's
    YGAL    1118/2012        1.10    125.00       137.50 At the client's office assisting Ms. Salazar with
                                                         1099-R.
    KFOS    1/20/2012        0.10    225.00        22.50 Federal Tax Preparation-discuss IRS call
                                                         needed wlPOA re: entity tax returns filed/(not)
                                                         by defendants (with MIB) and 8821 prep.

    KFOS    1123/2012        0.60    225.00       135.00 Bankruptcy - Tax Issues-prepare Forms 8821
                                                         for 5 entities and email to Receiver for
                                                         signature
     JSTR   1124/2012        0.20    225.00        45.00 Review email from client, respond to client


                                                                                                               4
Case 9:10-cv-80737-DTKH Document 167-1 Entered on FLSD Docket 04/30/2012 Page 5 of 6



    STAFF     DATE      HOURS      RATE      AMOUNT    :'.(             DESCRIPTION
     JSTR   1/25/2012      0.20     225.00      45.00  Review email from client, respond to client
    DAPP    112712012      0.10     250.00      25.00  Partner work on 1099's
     JSTR   113012012      0.50     225.00     112.50  Review Forms 1099 at client office
    YGAL    113012012      1.50     125.00     187.50  At a meeting with Ms. Salazar to review 1099R
                                                       forms prepared by her.
    KFOS    113112012       0.80    225.00      180.00 Bankruptcy - Tax Issues-call IRS with Forms
                                                       8821 to inquire if tax returns have ever been
                                                       filed by (5) entities
    KFOS    2/112012        0.60    225.00      135.00 Telephone call IRS legal dept.
    KFOS    2/112012        1.60    225.00      360.00 Prepare four (4) Forms 56 and IRS letter re:
                                                       potential delinquent previous years' tax returns

    KFOS    2/112012        0.20    225.00       45.00 Send to IRS letter and Form (S) 56 and to
                                                       Receiver for review and signature
    KFOS    21212012        0.70    225.00      157.50 Review IRS response to Receiver letter 1211/11
                                                       re: CMJ and explain toladvise Receiver; save in
                                                       S:
    DAPP    2/312012        0.20    250.00       50.00 Partner work on 1099 issues
    JSTR    2/3/2012        0.10    225.00       22.50 Correspond with client re income tax filing
    JSTR    2/3/2012        0.20    225.00       45.00 Meeting with David Appel re income tax filing

    KFOS    2/3/2012        0.20    225.00       45.00 Review IRS response to Receiver letter 12/1111
                                                       . r~: CMJ and explain toladvise Receiver; save in
                                                         S:
    DAPP    2/6/2012        0.20    250.00       50.00 Partner work on response to emails - Re:
                                                         1099's
     JSTR   2/612012        0.30    225.00       67.50 Corresponding with client, research Form 1099-
                                                         MISC filing requirements
    KFOS    2/6/2012        0.40    225.00       90.00 Email traffic re: CMJ Capital penalty notice,
                                                         1099's received
     JSTR   21712012        0.10    225.00       22.50 Respond to client email re income tax filing
     JSTR   21712012        0.10    225.00       22.50 Review letter from Receiver to receivership
                                                         beneficiaries
    KFOS    2/8/2012        0.20    225.00       45.00 Federal Tax Preparation-scan and save 2011
                                                         Roadsafe 1099-MISC to S:, setup 2011
                                                         directories
    KFOS    2/1312012       1.20    225.00      270.00 Prepare one IRS letter re: CMJ Capital LLC in
                                                         response to (2) conflicting letters from IRS -
                                                         one IRS letter (2/1) says penalties have been
                                                         removed; second IRS letter (2/6) says penalties
                                                         and interest have only partially been removed

    KFOS    2/13/2012       0.10    225.00       22.50 Email to MIB for review.
    KFOS    2115/2012       0.10    225.00       22.50 Review IRS issues re: CMJ and penalty letter
                                                       wlMIB
    KFOS    2/1512012       0.10    225.00       22.50 Goordinate IRS letter mailing
    KFOS    2115/2012       0.10    225.00       22.50 Email copy ofIRS letter to Receiver
    JSTR    2/2712012       0.30    225.00       67.50 Meetings with Yvonne Galaraza re 1099
                                                       filings, research same
    DAPP    2128/2012       0.20    250.00       50.00 Partner work on 1099's
    JSTR    2/2812012       0.30    225.00       67.50 Phone call with David Appel re 1099 filings
    YGAL    212812012       0.35    125.00       43.75 Meeting with Mr. Appel regarding 1099-R
                                                       recipient's missing social security numbers.




                                                                                                           5
Case 9:10-cv-80737-DTKH Document 167-1 Entered on FLSD Docket 04/30/2012 Page 6 of 6



     STAFF      DATE        HOURS       RATE      AMOUNT                  DESCRIPTION
     RIWE       9/6//11        1.00      225.00     225.00 Review complaints and motions for proper
                                                           disclosure on Tax Returns
     RIWE       9/6//11        0.85      225.00     191.25 Review 2010 Tax return - Trade LLC
     RIWE       9/6//11        0.85      225.00     191.25 Review 2010 Tax return - CM] Capital LLC
     RIWE       9/6//11        0.85      225.00       191.25 Review 2010 Tax return - BD LLC
     RIWE       9/6//11        0.85      225.00       191.25 Review 2010 Tax return - Twitt LLC
     RIWE       9/6//11        0.85      225.00       191.25 Review 2010 Tax return - Center Richmond
                                                              cLC
                              116.48              $ 29,471.00


   Client Expense
     CLNT       09/23/11                                  19.46 Fed Ex Inv#7-633-59826 Trk#7975 13423317
                                                                9/13/11
     CLNT      9128/2011                                  1.12 Administration Fee
     CLNT      10/10/2011                                 2.48 Administration Fee
     CLNT      11130/2011                                16.83 Postage / Messenger / Copies
                                       TOTAL      $ 29 2510.89




                                                                                                           6
